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Case 1:18-cV-00349-BLW Document 1-2 Filed 08/06/18 Page 1 of 13

Timothy D. Ducar (9703)

LAW OFFICES OF TIMOTHY D. DUCAR, PLC
8360 E. Raintree Drive, Suite 140

Scottsdale, AZ 85260

Telephone: (480) 502-21 19

Facslmile: (480) 452-0900

tdtcar@az aWVers.com

m €rS§@H aWY€I`S.COI‘I‘l

Attorneys for Plainti]j*`

 

 

 

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

LINDA R. ESSMAKER, a resident of No.
Idaho,

Plaintiff, COMPLAINT

_vs-
JURY TRIAL DEMANDED

ZWICKER & ASSOCIA"["ES, P.C.,

Defendant.

 

Plaintiff Linda R. Essmaker (“Essrnaker”), a resident of Idaho, by undersigned
counsel, brings the following Complaint against Defendant Zwicker & Associates, P.C.,
and alleges as follows:

JURISDICTION

1. This action arises out of Defendant’s violations of the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

2. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.
§ 1331.

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Case 1:18-cV-00349-BLW Document 1-2 Filed 08/06/18 Page 2 of 13

3. Venue is proper before this Court pursuant to 28 U.S.C. § 139l(b), where
the acts and transactions giving rise to Plaintiffs action occurred in this district and/or
where Defendant transacts business in this district.

PARTIES

4. Plaintiff is an adult individual residing in Twin Falls, ID, and is a “person”
as defined by 47 U.S.C. § 153(39).

5. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

6. Defendant is a Massachusetts Corporation and is a “person” as the term is
defined by 47 U.S.C. § 153(39).

7. Defendant uses instrumentalities of interstate commerce or the mails in a
business the principle purpose of which is the collection of debts and/or regularly collects
or attempts to collect debts owed or asserted to be owed to another, and is a “debt
collector” as defined by 15 U.S.C. § 1692a(6).

FA_CTS

8. Plaintiff’s alleged obligation arises from a transaction in which property,
services or money was acquired on credit primarily for personal, family or household
purposes, is a “debt” as defined by 15 U.S.C. § l692a(5).

9. At all times mentioned herein Where Defendant communicated with any
person via email, such communication was done via Defendant’s agent, representative, or

employee.

 

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Case 1:18-CV-OO349-BLW Document 1-2 Filed 08/06/18 Page 3 of 13

10. On or about Tuesday, March 28, 2017, at 12: 14 P.M., Defendant emailed
Century Law Firm (“Century”), with regard to Century’s client Essmaker, in an attempt
to collect the alleged debt.

11. In the email attached as Exhibit A, Defendant stated, “[t]his letter will
confirm that our client, Discover Bank, has agreed to accept $4,024.00 (the ‘agreed
settlement amount’) as settlement in full of the above-referenced account.” The payment
schedule set forth included 12 payments total, the first payment becoming due on or
before March 30, 2017, and the last payment becoming due on or before February 28,
2018. The payment schedule can also be found in Exhibit A.

12. Plaintiff made all 12 payments as outlined in the payment schedule set forth
in Exhibit A. Plaintiff s first payment occurred on March 29, 2017, for the sum of
$1,000.00, and Plaintiff’s last payment occurred on February 05, 2018, for the sum of
$524.00. After making the first payment, Plaintiff made each of the next 11 payments
nearly a filll month before the due date. A screenshot of Plaintiff’s payments complying
with the settlement agreement is attached as Exhibit B.

13. Despite Plaintiff’s payments fulfilling the settlement agreement, Defendant
decided to file a Wage garnishment Defendant filed a Writ of Execution on July 05,
2018. A copy of the Writ of Execution is attached as Exhibit C.

14. Defendant’s actions caused Plaintiff to suffer a significant amount of
frustration and annoyance.

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Case 1:18-cV-OO349-BLW Document 1-2 Filed 08/06/18 Page 4 of 13

ALLEGATIONS

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
§ 1692l et seg.

15. Plaintiff incorporates by reference all of the above paragraphs of this

 

Complaint as though fully stated herein.

16. The FDCPA was passed in order to protect consumers from the use of
abusive, deceptive and unfair debt collection practices and in order to eliminate such
practices.

17 . Defendant attempted to collect a consumer debt from Plaintiff that was not
owed by Plaintiff.

18. Defendant engaged in “communications” as defined by 15 U.S.C. §
l692a(2).

19. Defendant engaged in conduct, the natural consequence of which was to
harass, oppress, or abuse Plaintiff, in connection with the collection of a debt, in violation
0f15 U.S.C. § 1692d.

20. The foregoing acts and/or omissions of Defendant constitute violations of
the FDCPA, including every one of the above-cited provisions

21. Plaintiff was harmed and is entitled to damages as a result of Defendant’s
violations.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendant for:

A. Actual damages pursuant to 15 U.S.C. § l692k(a)(1);

 

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Case 1:18-CV-OO349-BLW Document 1-2 Filed 08/06/18 Page 5 of 13

B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);
C. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §
1692k(a)(3); and
D. Such other and further relief as may be just and proper.
\\\
DATED this '5°da_y ofJuiy, 2018.
LAW OFFICES OF TIMOTHY D. DUCAR, PLC

-.-'__\

Timothy D. Ducar

8360 E. Raintree Drive, Suite 140
Scottsdale, AZ 85260

Attorneys for Plaintiff

 

Case 1:18-cV-OO349-BLW Document 1-2 Filed 08/06/18 Page 6 of 13

EXHIBIT A

'H'IIS LAW FIRM
EMPLOYS ONE OR
MORE A'.l'IORNBY$
ADMI'I'I'ED 10
PRACTICE IN THE

'POLLOWlNG STATES:

ALASKA
ARIZONA
CALIFORNIA
COLORADO
CON`NECHCUT
FLORIDA
GEORGIA

IDAHO

ILUNOIS
INDIANA
KEN'I'UCKY
MAINE
MARYLAND
MAS$ACHUSEITS
MICHKGAN
MTNNESOTA
NEW JERSEY
NBW HAMPSI-BRE
NEW YORK
NOKI'H CAROLINA
OHIO

ORBGON
PENNSYLVANIA
RHODE lSI.AND
SOUTH CAROUNA
TENNESSEE
'I'EXAS
VBRMONT
VIRONIA.
WASI'WOTON
WEST VIRG!NIA

DISTRICT OF
COLUMBIA

Case 1:18-oV-OO349-BLW Document1-2 Filed 08/06/18 5392€2;1_(,)1°12134 pam/002
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'I'ES, .C.
ATroRNaYs A't LAW
80 MINuTBMAN RoAD,ANDoveR, MAssAcI-ruserrs 01810~1008
Tel. (877) 846-5051 Fax (978) 686-3538
NY Cn'YAND YONKERS RESDENTS ONLY CALL (877) 368-453 1

CEN'['UR¥ LAW FIRM

301 WEST BAY STREET SUTI'.E 1465
IACKSONVILLE, FL 32202

Fax: 917-267-7160

March 28, 2017

Cnedltor: DISCOVER BANK
Your client LINDA R ESSMAKER
Account number ending in 1666 1-3-3-"

Balance: $5,029.88
Pi]e [D: 4922188

Dear CENTURY LAW FIRM:

This letter will confirm that our client, DISCOVER BANK, has agreed to accept 54,024.00 (the "ag'eed settlement
amount") as settlement in full of the above-referenced account

Please note that our client’s acceptance of the agreed settlement amount is conditioned upon the receipt by this finn of
each payment set forth in the payment schedule below on or before the date speci£ed, and the successful negotiation
of each payment After this fum’s timely receipt and successtiil negotiation of all of the payments set forth below, (1)
we will advise our client that thc account is settled in nill; (2) ifyour client’s account is in litigation and a judgment
has not been awarded in our client’s favor, we will file with the court a dismissal of that litigation; and (3) if a
judgment has been awarded in our client’s favor regarding your client’s account, we will tile with the court a
satisfaction of that jud ent and release any associated liens

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Payment Puyment Amouot Paymcnt nyment Amount Payment Payment Amount

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l 3/30/20 17 $1000 5 7/30/2017 $250 9 11/30/2017 $250

2 4/30/'2017 $250 6 8/30/2017 3250 10 12/30/2017 5250

3 5/30!2017 $250 7 9/30/2017 $250 11 1/30/2018 $250

4 6/30/2017 $250 8 10/30/2017 $250 12 2/28/2018 3524

 

 

If each payment set forth above is not received by this firm on or before the date specified for that payment and
successfully negotiated this settlement oE`er may be withdrawn. If you have any questions or concems, please contact
your client’s non-attorney account representative Your client should understand and consider the terms of any
settlement before agreeing to it.

Your client should note the following

Settling a debrfor less than the balance owed may have tax comequences and Discover may file a 1099C'jbrm. We
cannot provide your client with tax advice Lfyour client has any questiom', Discover encourages them to consult a
tax adviser ofrheir choosing

Si.ncerely,

zwIcI<Ea a AssocIAras, P.c.

1. 'l'hls firm is a debt collector.

2. This firm ls attempting to collect a debt and any information obtained will be used for that purpose
3. Impoxtant notices appear on the back oftb.is letter. Please read them as they may affect your rights
4. Colorado residents: please read important notice on the back ofthis letter.

DISSIFAT

Case 1:18-cV-00349-BLW Document 1-2 Filed 08/06/18 Page 8 of 13

zwchER t assoc.. Pc Fax 85958622?0 liar 28 2017 12:14pro P002/002
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.QEElE_EM:_Mouday through thursday s:oo AM ~ 9:00 PM, and today 8;00 AM _ mo PM_ (Au nms m Emm)_

We are required under stare law 10 troqu consumers of the following rights Thls fm does not contain a complete list ofzh¢ rights consumers have
understate andf¢da-dlaw.

Calii'ornia-The state Rosenthal Fair Debt Collection Practices Act and the federal Fair cht Collection Practices Act require that, except under
unusual circumstances collectors may not contact you before 8 a.m. or after 9 p.m. They may not harass you by usingthreats of violence or
arrest or by using obscene language Collectors may not use false or misleading statements or call you at work ihheyknow or have reason to know
that you may not receive personal calls at work For the most part, collectors may not tell another person. other titan your attorney or spouse about
your debt. Collectors may contact another person to confirm your location or enforce aludgment. l-'or more information about debt collection
activities you may contact the Pedcral Tlade Commlssion at 1-877~FTC-HELP om_'vgv_.g§go_y.

California/Uaah - As required by law, you erc hereby notiiled that a negative credit report reflecting on your credit record may be submitted to a
credit reporting agency if you fail to iiilnll the terms of your credit obligations

 

COMMUNICATION WITH THE CO`NSUMER. A WRIT`I`EN R.EQUEST TO CEASE COWUNICATION WILL NOT PROHIBl'l` THE DEBT
COLLECTOR OR COLLECT[ON AGBNCY FROM TAKNGANY OTHER ACTION AUTHORIZED BY LAWTO COLLECTTl-IB DEBT.

Colorado residents may contact our oflice by telephone at 800-3 70-2251 during the office hours stated above.
Malne - Maine residents may contact our office by telephone at 800-370-2251 during the omcc hours stated above.

Massaehusetts - Massachusctts residents may contact our office by telephone at 800-370-2251 during the office hours stated above The business
address is: 80 Minuteman Road, Andover, Massachusetts 01810-1008. Massachusetts Law requires that we in£onn you:

 

To all consumers: Federal law or other state laws may also provide you with similar or even greater rights

ho e ts acc

lf you and this firm agree that you can make a series of monthly payments on your account in specified amounts you can authorize this linn by
phone to initiate those payments electronically nom your bank account By (I) calling us at 800-370-2251 (NY City and YonkersResidcnts Only
Call 877-368-4531) or taking a call nom us; (2) speoin/ing the amounts and dates of payments which you would like tomel<e; (3) identifying the
bank account of yows which you wish to use to make the payments; and (4) electronically signing thisAuthorlzation, you authorize us to initiate
payments h'om your account in the amounts and on the dates that you specify You understand that your bank may charge you a fee for any
unsuccessful payment and that we have no liability for any such fcc. YOU ARE NOTREQC!RED 'I'O ARRANGE FOR OR
AU'I'HORIZE ANY PAYMENTS OF THIS T¥PE. It` you choose to provide this

authorimtion, you can cancel lt by calling us toll n'ee at 877-220-6665 at least three business days before the day on which youwant the
cancellation tobe eEective.

New Yori< City Deparunent of Consumcr A.E`airs License No. 2045431: 80 Minuteman Road, Andover, MA 01810
Ncw York Clty Departtnent of Consumer A&'airs Licensc No. 2045486: 2300 Litton Lane, Suite 200, Hebron, KY 41048

Case 1:18-cV-00349-BLW Document 1-2 Filed 08/06/18 Page 9 of 13

EXHIBIT B

   

 

 

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Case 1:18-CV-00349-BLW Dochent 1-2 Filed 08/06/18 Page 10 of 13

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Case 1:18-CV-00349-BLW Document 1-2 Filed 08/06/18 Page 11 of 13

EXHIBIT C

Case 1:18-CV-00349-BLW Document 1-2 Filed 08/06/18 Page 12 of 13
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AARON MC|.EL\AN i$B# 9038
LOR| EgROD iSB# 9987
ZWICKER'& ASSOC|ATES, P.C.

A Law Flrm Engaged in Debt Co.ilectlon
12550 SE 93RD AVENUE

SU|TE 430

CLACKAMAS, OR 97015

PHONE: (503)654-1050

FAX: (503)654-0345

roLL mae (377)204-9`425
AMCLEI.LAN @ZW|CKERP C.CDM
At‘iorney For Plaintiff

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or ms sTATE oF inAHo, comm oF Twm FAu.s

 

olscoven aAm<, case No.: c"_‘§?__"'""'"‘wz-u-m `
""“"t"f' - .' wm oF sxscurloN
vs. (Bank/Third Party)
LtNoA R EssMAKER ,

Defendant

Tt`J: THE SHER|FF OF TW|N FALLS

WHEREAS, on 04/11/3.7, Plaintiff recovered a iudgment in the Dlstrlct Court of the
FlFTl-i Judiciai District of the State of ldaho, in and for the County of TW|N FALLS against LiNDA
R ESSMAKER for the sum of $5,275.38, together with interest thereon, from the date thereof
at the Judgment tate of 0.000% until pald, together with accruing'costs and disbui‘semants as

 

 

appears to _us of record.

JuDGMENTC\||.¢|O’|O||illll\dt'¢|l.l¢cl\l"&ll¢i¢ll lbll\lltlll ll|l|l ”|.OII|||'I|I||QI ll|l¢»¢ll¢\;$ 5'215|38
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Case 1:18-cV-OO349-BLW Document 1-2 Filed 08/06/18 Page 13 of 13

 

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Plus Cost Since .|udgment $ 0.00
Pius interest Since Judgment Computed from 04/11/17 to 05/25/18
- - ...... $ 0.00

 

 

AMouNTINGToTHeToTALsuM or $ 1,501.38

AND WHEREAS, The .iudgment is filed in the Cierk's Oifice of this Court, in the
' County of TW|N FALLS. The total sum as set out above is now, at the day of this Writ, actually

due on said Judgment.

NOW,` you, the said Sheriff, are hereby required to satisfy said .iudgment, with
interest as aforesald, and costs and accruing costs, out of the personal property of said
judgment debtor, or if sufficient personal property of said debtor cannot be found, then out of
the real pro`perty belonging to the Defendant, and make return of this \liirit within sixty (60)
days afterthe receipt hereof, with what you have done explained therein.

Attest'rny hand and the seal of said Court _thls 5th day of J"ly . 201§.

BY: T“’u TW

Deputy Cieric

 

Writ of Execution
Page 2 of 2

